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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


UNITED STATE OF AMERICA                :
                                       :
                     Plaintiff         :
                                       :         Case Number:
       v.                              :         1:16-CR-00232-01-RWS
                                       :
JAMES J ACREE                          :
                                       :
                     Defendant         :
                                       :

      DEFENDANT JAMES J. ACREE’S MOTION TO MODIFY THE
         CONDITIONS OF HIS PROBATION TO ALLOW HIM
                     TO TRAVEL ABROAD

      Comes now Defendant James J. Acree, by and through his counsel, Jerome J.

Froelich Jr., and moves this Court to modify the conditions of his probation to allow

him to travel without seeking the permission of his Probation Officer for the

following reasons:

                                           1.

      On November 1, 2023 Defendant Acree was sentenced to 3 years probation

with the first 365 days on home confinement.

                                           2.

      Defendant Acree has no prior criminal record and the events for which he was

sentenced took place about 10 years before he plead guilty.

                                           3.

      Defendant Acree’s present employment requires him to travel extensively in


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the United States and internationally. Defendant Acree, in order to travel, has to

submit a request form to the Probation Department at least 14 days before he is to

travel within the United States and 45 days prior to international travel.

                                          4.

      Defendant Acree’s present employment requires extensive travel, both within

and outside the United States. Defendant Acree’s probation officer has granted

Defendant Acree to travel with requests made slightly shorter than the required time

request.

                                          5.

      However, there have been times when Defendant Acree’s present employer

gave Defendant Acree only a very short notice to travel, particularly on international

travel, that Defendant Acree felt he had to explain to his employer his notice was too

short and he could not request permission to travel and, therefore, some other

employee had to travel in Defendant Acree’s place. Defendant Acree was only able

to keep his job under these circumstances because he is a valuable employee. Though

Defendant Acree believes this has hurt his employment status. More importantly,

Defendant Acree has been informed that his employer is in financial trouble and

Defendant Acree will most likely be looking for a new job.

                                          6.

      It will be difficult for Defendant Acree to find a new job if he cannot travel on

short notice. Also that he has to make a request and give notice may make a new

employer hesitant to hire Defendant Acree.


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                                          7.

      In view of the above, Defendant Acree would request that he be allowed to

travel by only giving notice to his Probation Officer but not requiring approval. This

will allow Defendant Acree to travel at a moment’s notice.

                                          8.

      It should be noted that Defendant Acree cooperated extensively with the

government and was prepared to testify prior to pleading guilty. Further, Defendant

Acre traveled internationally without having to seek permission and always returned

to the United States prior to his sentencing.

                                          9.

      Defendant Acree’s wife and children live in the United States and he has

always obeyed all the conditions of his probation.

                                     Conclusion

      For all the above reasons Defendant Acree’s request that his motion be granted.



                                       Respectfully submitted,



                                        S/ Jerome J. Froelich Jr.
                                       Jerome J. Froelich, Jr.
                                       State Bar No. 278150


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                         CERTIFICATE OF SERVICE

      This is to certify that I have this day served correct copy of the within and

foregoing with the Clerk of Court using the CM-ECF system which will automatically

send e-mail notification of such filing to the opposing counsel:


      Stephen McClain, Esq.
      United States Attorney’s Office - ATL
      Assistant United States Attorney
      600 US Courthouse
      75 Ted Turner Drive SW
      Atlanta, Georgia 30303




      This 31st    day of May , 2025.



                                               S/ Jerome J. Froelich Jr.
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                                              Georgia State Bar No. 278150

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